
Shaw, C. J.
The only question is, whether the Merrimack *154Manufacturing Company are chargeable as trustees. They disclose in their answer an assignment made by the principal defendant, a workman employed in their service, of the wages due and becoming due to him, for the quarter ending the 1st of April, 1848, for a good consideration; moneys previously advanced and to be advanced. This assignment was notified to the company and assented to by them.
This was a good assignment, in form, made on good consideration, and in the absence of fraud transferred the entire interest to the assignees. Weed v. Jewett, 2 Met. 608; Brackett v. Blake, 7 Met. 335.
The court having declined so to instruct the jury, as prayed for by the assignees, and having instructed them, that the assignees could only hold to the amount of the money advanced by,them, at the time of the service of the trustee writ, the court are of opinion, that this direction was incorrect in point of law. Verdict set aside.
